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               IN THE UNITED STATES DISTRICT COURT FOR
                                                                         FLED
                                                                 U.S. 11STR1CT COURT
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
                                                                      JUN —I    zo 15
MICHAEL LAVON BOSTIC,

        Petitioner,                                                  So . 01C T F GA

V.                                           CASE NO. CV415-107

UNITED STATES OF AMERICA,

        Respondent.


                                ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 2), to which objections have been

filed (Doc. 4) * After a careful de nova review of the

record, the Court concludes that Petitioner's objections

are without merit. This case presents no extraordinary

circumstances to warrant entertaining a habeas petit:-on

prior to the conclusion of Petitioner's direct appeal. See

United States v. Casaran-Rivas, 311 F. App'x 269, 273 (11th

Cir. 2009) . Accordingly, the report and recommendation is

ADOPTED as the Court's opinion in this case. As a result,

Petitioner's 28 U.S.C. § 2255 Petition is DISMISSED.

        The Clerk of Court is DIRECTED to file Petitioner's

Motion to Appeal (Doc. 1 at 5) as a notice of appeal in his

criminal case, 4:13-cr-007. The effective filing date of

the notice shall be the date he filed the motion in this
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case, April 27, 2015. Additionally, the Clerk of Court is

DIRECTED to notify counsel in Petitioner's criminal case

that a notice of appeal has been filed on Petitione:'s

behalf and provide counsel with a copy of this order.

Counsel is reminded of his continuing obligation to

represent Petitioner during the pendency of any appeal in

Petitioner's criminal case until and unless relieved by

order of the Eleventh Circuit Court of Appeals. The Clerk

of Court is DIRECTED to close this case.
                        J sr-
     SO ORDERED this f          day of June 2015.



                                    WILLIAM T. MOORE, JR
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA




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